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                              UNITED STATES DISTRICT COURT                    ,--------1
                            SOUTHERN DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,
                                                          Case No. 14CR0972 JLS           JAN 25 2016
                                                                                      CL,E~~, u.s. DISTRICT COURT
                                       Plaintiff,                               SOUTHeR," DISn",'r OF CALI"ORNI
                                                                               'W           11       ~        " "   I'
                                                                              ..::..-        1(              DE PUT
                      vs.                                                                                --.<~~



                                                          JUDGMENT OF DISMISSAL
LORENA GONZALEZ (2)



                                    Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion ofthe Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

X     the Court has granted the motion of the Government for dismissal, without prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

x     of the offense(s) as charged in the Indictment:




            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

 Dated: 1121/2016

                                                     Hon. Janis L. Sammartino
                                                    JUnited States District Judge
